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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Attorneys for the Debtors

In re:                                               Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                 Judge: Gloria M. Burns

              Debtors.                               Chapter: 11


         ORDER GRANTING FIRST AND FINAL APPLICATION OF
PHOENIX MANAGEMENT SERVICES, INC. AS RESTRUCTURING ADVISORS FOR
 THE DEBTORS FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES

The relief set forth on the following page, is hereby ORDERED.
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Shapes/Arch Holdings, L.L.C.

Case No. 08014631 (GMB)

Order Granting First and Final Application of Phoenix Management Services, Inc. as Restructuring Advisors for the
Debtors for Compensation and Reimbursement of Expenses


         Upon consideration of the Final Fee Application1 of Phoenix Management Services, Inc.,

restructuring advisors for the Debtors, for an order granting a final allowance of professional fees

and expenses, and good cause appearing therefore, after notice and hearing, it is hereby

ORDERED:

         1.      That the Final Fee Application is APPROVED.

         2.      That Phoenix Management Services, Inc. is allowed fees of $431,482.50 and

expenses of $4,182.70 incurred during the Fee Application Period of March 16, 2008 through

August 8, 2008 and said amounts are authorized for payment in full.




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1
  Unless otherwise defined herein, all capitalized terms shall have the same meanings ascribed to
them in the Final Fee Application.

                                                   2
